        Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 1 of 7


1

2

3

4

5

6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    IGNACIO SOTO-HINOJOSA,           )        No. CV-F-10-501 OWW
                                      )        (No. CR-F-04-5278 OWW)
10                                    )
                                      )        MEMORANDUM DECISION AND
11                   Petitioner,      )        ORDER DENYING PETITIONER'S
                                      )        MOTION TO VACATE, SET ASIDE
12             vs.                    )        OR CORRECT SENTENCE PURSUANT
                                      )        TO 28 U.S.C. § 2255 AND
13                                    )        DIRECTING CLERK OF COURT TO
     UNITED STATES OF AMERICA,        )        ENTER JUDGMENT FOR
14                                    )        RESPONDENT
                                      )
15                   Respondent.      )
                                      )
16                                    )

17

18        On March 12, 2010, pursuant to the "mailbox rule,"

19   Petitioner Ignacio Soto Hinojosa, proceeding in pro per, timely

20   filed a motion to vacate, set aside or correct sentence pursuant

21   to 28 U.S.C. § 2255.

22        Petitioner was charged by Superceding Indictment with

23   conspiracy to manufacture, distribute and possess with intent to

24   distribute 50 grams or more of methamphetamine and aiding and

25   abetting (Count One); possession of methamphetamine with intent

26   to distribute (Count Two); and possession of methamphetamine with

                                          1
        Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 2 of 7


1    intent to distribute and aiding and abetting (Count Six).           Jury

2    trial was confirmed for February 1, 2006.        On February 1, 2006,

3    Petitioner pleaded guilty to Counts Two and Six without a written

4    Plea Agreement in exchange for Respondent’s agreement to dismiss

5    Count One.    Petitioner was sentenced on July 13, 2007 to 168

6    months concurrent as to Counts Two and Six and Count One was

7    dismissed.    Petitioner appealed his sentence to the Ninth

8    Circuit, which affirmed the sentence imposed.

9         Petitioner asserts that he was denied the effective

10   assistance of counsel:

11                1. Counsel was ineffective when he
                  recommended to petitioner not to take the
12                plea agreement offered by the Government that
                  provided a 144 months sentence.
13
                  2. Counsel was ineffective when assured
14                Petitioner that even he did not take the plea
                  agreement from the Government that
15                practically gave him a 144 months sentence,
                  that was the most time he could get anyway.
16
     Petitioner contends in his motion:
17
                  3) During pre-trial the Government offered a
18                plea agreement which would provide a sentence
                  of 144 months, is clear now that if Counsel
19                did not assured me that no matter if I take
                  the plea or plead guilty without the plea
20                agreement, the most time I would get was 144
                  months, I would plea guilty to the first
21                plea.

22                4) As the Government reflects in his brief
                  for Appellee ..., that the sentence disparity
23                with his other co-defendants was due to the
                  culpability of the parties and plea offers
24                accepted by the co-defendants but rejected by
                  the defendant. Therefore when defendant want
25                it to plea but was advise by his counsel not
                  to take the plea agreement, if the counsel
26                acted in an effective manner, advising me to

                                         2
           Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 3 of 7


1                 take the plea, the Court would have sentence
                  me to a lesser time.
2
            To establish an ineffective assistance of counsel claim,
3
     Petitioner must show: (1) the representation was deficient,
4
     falling “below an objective standard of reasonableness”; and (2)
5
     the deficient performance prejudiced the defense.            Strickland v.
6
     Washington, 466 U.S. 668, 687 (1984).          The Court need not
7
     evaluate both prongs of the Strickland test if the petitioner
8
     fails to establish one or the other.          Strickland, id. at 697;
9
     Thomas v. Borg, 159 F.3d 1147, 1152 (9th Cir.1998), cert. denied,
10
     526 U.S. 1055 (1999).
11
            Under the first prong, Petitioner must show that “counsel
12
     made errors so serious that counsel was not functioning as the
13
     ‘counsel’ guaranteed the defendant by the Sixth Amendment.”
14
     Strickland, 466 U.S. at 687.        “A convicted defendant making a
15
     claim of ineffective assistance must identify the acts or
16
     omissions of counsel that are alleged not to have been the result
17
     of reasonable professional judgment.”          Id. at 690.    “A fair
18
     assessment of attorney performance requires that every effort be
19
     made to eliminate the distorting effects of hindsight, to
20
     reconstruct the circumstances of counsel’s challenged conduct,
21
     and to evaluate the conduct of counsel’s performance at the
22
     time.”     Id. at 689.    The proper inquiry is whether, “in light of
23
     all the circumstances, the identified acts or omissions were
24
     outside the wide range of professionally competent assistance.”
25
     Id.     The court must apply “a heavy measure of deference to
26

                                            3
        Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 4 of 7


1    counsel’s judgments,” and “must indulge a strong presumption that

2    counsel’s conduct [fell] within the wide range of reasonable

3    professional assistance.”     Id. at 690-691.     “The relevant inquiry

4    under Strickland is not what defense counsel could have pursued,

5    but rather whether the choices made by defense counsel were

6    reasonable.”     Siripongs v. Calderon, 133 F.3d 732, 736 (9th

7    Cir.1988).    “The failure to raise a meritless legal argument does

8    not constitute ineffective assistance of counsel.”         Shah v.

9    United States, 878 F.2d 1156, 1162 (9th Cir.1989).        A decision to

10   waive an issue where there is little or no likelihood of success

11   and concentrate on other issues is indicative of competence, not

12   ineffectiveness.     See Miller v. Keeney, 882 F.2d 1428, 1434 (9th

13   Cir.1989).

14        To meet the prejudice requirement, the petitioner must

15   demonstrate that errors “actually had an adverse effect on the

16   defense.”    Strickland, 466 U.S. at 693.     “It is [also] not enough

17   for the defendant to show that the errors had some conceivable

18   effect on the outcome of the proceeding.”        Id.   “Virtually every

19   act or omission of counsel would meet that test, and not every

20   error that conceivably could have influenced the outcome

21   undermines the reliability of the result of the proceeding.”         Id.

22   “The defendant must show that there is a reasonable probability

23   that, but for counsel’s unprofessional errors, the result of the

24   proceeding would have been different.       A reasonable probability

25   is a probability sufficient to undermine confidence in the

26   outcome.     Id. at 694.

                                         4
        Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 5 of 7


1         At sentencing, Petitioner’s attorney, in arguing for a

2    downward departure based in part on Section 3353 factors and on

3    the ground that Petitioner had no prior record and was “otherwise

4    safety valve eligible except for the Court’s finding last week

5    for the untruthfulness during the briefing. (CT, Sentencing July

6    13, 2007, 225:13-16).    The following discussion occurred:

7              MS. SERVATIUS: When you want to compare the
               defendant’s recommended sentence to that of
8              the other defendants, I don’t know if the
               Court recalls. I think it might because I
9              think it was going to be the first trial that
               was going to be in the new courtroom and on
10             the day of trial, other defendants said we
               don’t want to - we’ll take the deal if it’s
11             still open.

12             That left me with Mr. Conrado Hinojosa and
               Ignacio Soto. I told them that they could
13             have the offers as well even though I risked
               the Court’s wrath in doing so. And I had
14             offered Ignacio twelve years ....

15             And since then, I’ve had to listen to him in
               a 40 minute debriefing lie and I’ve had to
16             sit here in a hearing ... and the arguments
               being made that he should get the additional
17             point for acceptance of responsibility that
               can only be granted on the government’s
18             motion ....

19             Why should the defendant get the benefit of
               the plea bargain if the government doesn’t?
20
     (CT, Sentencing July 13, 2007, 226:21-227:9).        Petitioner’s
21
     counsel, Mr. Drandell, responded:
22
               MR. DRANDELL: Now, the offer was three phone
23             counts, three phone counts for twelve years
               ... No more, no less. He’s safety valve
24             eligible, he had the ability to go into the
               ten years. So I told him that if you just
25             pled straight up, you can do better than
               twelve years because you’re safety valve
26             eligible. You have no record. And that’s

                                         5
        Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 6 of 7


1              why, Your Honor, he decided to plead straight
               up rather than accept the government’s offer.
2
               ...
3
               MR. DRANDELL: But that’s why he did it and
4              that’s why the Court should sentence less
               than that. And if he was safety valve
5              eligible and had debriefed and the Court had
               found him to be truthful and honest and
6              forthcoming, he would have gotten
               significantly less than twelve years. So
7              that’s why he pled.

8    (CT, Sentencing July 13, 2007, 229:25-230:15).         Petitioner was

9    asked by the Court if he wished to say anything before sentence

10   was pronounced:

11             THE DEFENDANT: Yes. First of all, I
               apologize to the Court for having lied at the
12             debriefing. But the reason that I did was to
               not interfere in my brother’s defense. But I
13             would like to acknowledge that I did help him
               to distribute the drugs. That I did deliver
14             the packages on September 6th. And that,
               yes, I did know that the drugs were in the
15             house. And therefore, once again, I
               apologize to the Court. That’s all I would
16             like to say.

17             THE COURT: Thank you very much, Mr. Hinojosa.

18             MR. DRANDELL: Your Honor, if he had said that
               at the debriefing, we’d be looking at a
19             sentence under ten years.

20             MS. SERVATIUS: Your Honor, that’s not
               necessarily so since we denied minor
21             acceptance, we’d still be looking at a
               sentence that’s more in the 135 months.
22
     (CT, Sentencing, July 13, 2007, 231:12-232:1).
23
          This record demonstrates that Petitioner’s counsel was not
24
     ineffective in advising Petitioner to reject the Government’s
25
     plea offer and to plead straight up to Counts Two and Six and in
26

                                         6
         Case 1:04-cr-05278-DAD Document 371 Filed 04/07/10 Page 7 of 7


1    advising Petitioner that the most time he could receive if

2    rejected the plea agreement was 144 months.         If Petitioner had

3    testified truthfully during the safety valve debriefing, as he

4    admitted to the Court he did not, Petitioner would have been

5    eligible for a sentence less than the 144 month sentence in the

6    Government’s plea offer.      Petitioner makes no contention that Mr.

7    Drandell advised him to be untruthful during the safety valve

8    debriefing or that Mr. Drandell did not advise him of the

9    consequences to Petitioner of being untruthful.          As the Court

10   advised Petitioner when imposing sentence, the keys to a lesser

11   sentence than that set forth in the rejected plea agreement were

12   in Petitioner’s hands.     Petitioner’s failure to be truthful

13   during the safety valve interview resulted in a sentence

14   exceeding 144 months, not counsel’s advice.

15         For the reasons stated:

16         1.     Petitioner Ignacio Soto Hinojosa’s motion to vacate, set

17   aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED;

18         2.     The Clerk of the Court is directed to enter JUDGMENT FOR

19   RESPONDENT.

20         IT IS SO ORDERED.

21   Dated:     April 6, 2010               /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
22

23

24

25

26

                                          7
